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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN D ISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA,

v.                                                     Criminal Case No. l:18-CR-457 (AJT)

BIJAN RAFIEKIAN, et al.


                                              ORDER

        This matter having come before the Court on Mr. Rafiekian's Motion for Leave to File a

memorandum in response to the government's July 3,2019 ex parte motion pursuant to Local

Criminal Rule 49(0) and for good cause shown, the Court finds:

             1. Mr. Rafiekian seeks to file a memorandum regarding the government's ex parte

     motion on July 3, 2019.

             2. Sealing is appropriate when necessary to protect private interests and to ensure

     that court records are not used to promote public scandal. See In re Knight Pub. Co., 743

     F.2d 231,236 (4th Cir. 1984); Nixon v. Warner Communications, Inc., 435 U.S. 589,598

     (1978). The Court concludes that the documents at issue meet those standards.

             3. The Court has considered procedures other than sealing,but none would

     sufficiently protect the information subject to sealing.

             4. The Court has inherent power to seal materials. See In re Knight Pub. Co., 743

     F.2d at 235; Am. Civil Liberties Union v. Holder, 673 F.3d 245, 255-56 (4th Cir. 2011).

             5. Mr. Rafiekian seeks to have the material filed under seal pursuant to this Order

     unti I further order of the Court.

        NOW THEREFORE,

        ORDERED that the Motion is GRANTED; and it is further
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      ORDERED that the documents shall remain sealed until further order of the Court.

      SO ORDERED.




      Dated: �          8 / 1--0/o/
                                                        The Honorable Anthony J. Trenga
                                                        United States District Judge
